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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
__________________________________________

NATHANIEL STIEF,                                      :
                       Plaintiff,                     :
                                                      :
                       v.                             :       Civil No. 5:20-cv-06272-JMG
                                                      :
ROBESON TOWNSHIP, et al.,                             :
                  Defendants.                         :
__________________________________________

                                             ORDER

          AND NOW, this 2nd day of November, 2021, upon consideration of Defendants’ Motion

to Dismiss (ECF No. 14), Plaintiff’s response thereto (ECF No. 15), and for the reasons stated in

the accompanying Memorandum Opinion, it IS HEREBY ORDERED that:

     1.         Defendants’ Motion to Dismiss (ECF No. 14) is GRANTED as follows:

                a.     Count III of the Amended Complaint (ECF No. 13) is DISMISSED WITH

                       PREJUDICE.

                b.     Counts I and II of the Amended Complaint (ECF No. 13) are DISMISSED

                       WITHOUT PREJUDICE. Plaintiff may refile these state law claims in

                       the appropriate state court, if he so chooses.

     2.         The Clerk is directed to CLOSE this case statistically.

       IT IS SO ORDERED.

                                              BY THE COURT:


                                              /s/ John M. Gallagher
                                              JOHN M. GALLAGHER
                                              United States District Court Judge
